                 Case 1:08-cr-00175-LJO Document 88 Filed 09/22/10 Page 1 of 1


 1   Law Offices of Andres Bustamante
 2
     Andres Z. Bustamante- Bar No. 147025
     634 S. Spring Street, Suite 910
 3   Los Angeles, CA 90014
     Telephone (213) 891-9009
 4
     Facsimile (213) 627-1655
 5   Attorney for Defendant
     Oscar Rivera-Lopez
 6

 7                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                   ) Case No.: 08CR00175-003 LJO
 9                                               )
                     Plaintiff,                  ) ORDER
10                                               )
           vs.                                   )
11                                               )
     OSCAR RIVERA-LOPEZ,                         )
12                                               )
                     Defendant                   )
13                                               )
                                                 )
14

15   Defendant Oscar Rivera-Lopez’ unopposed motion to continue sentencing date is hereby:
16   __X____ Granted
17   ______ Denied
18

19          The Sentencing Hearing currently set for 9/24/2010 has been CONTINUED to October
20   15, 2010 at 9:45am.
21   Date: September 22, 2010
22

23                                                    /s/ Lawrence J. O’Neill
                                                      Honorable Federal District Judge
24
                                                      Lawrence J. O’Neill
25

26

27

28




                                                  1
